Ao 91 (Rev_ 11/11) criminal compzainr

 

UNITED STATES DISTRICT CoURT
for the

Middle Distriot of North Carolina

 

 

United States ofAmerica )
v. )
; / m /7 ¢
Jonarhan eARCiA~c:sNEeos a.k.a. Jonathan ) Case NC" / g J
Garcia Cisneros, Jonathan Cisneros, Johnathen )
Gercie Cisneros, Johnathan Cisneros, Yonatan )
Garcia-Cisneros, A|exis A|varez, A|exis A[varaoio, + )
)
Dq”endam(s,i
CRIMINAL COMPLAINT
\
I, the complainant in this case, state that the following is true to the best of my knowledge and belief
On or about the date(s) of May 14, 2018 in the county of F"OFSVth wm in the
N|iddie m District of Noith Caroiina , the defendant(s) violated:
Code Section 7 Ojj%nse Descripz‘ion
8 USC Seotion 1326(3) Being found in the United States while an alien being previously removed or

deported from the United States Without the express consent ot the Attorney
Genera| or the Secretary Of the Depertment Of Homeiand Seourity to reapply
for admission to the United States, in violation of Titie 8, Uniteci States Code,
Seotions 1326(3).

This criminal complaint is based on these facts:

if Continued on the attached Sheet.

 

 

 

_ ’ _
Complamam s signature

Erin North, Deportation_ `O;¢j-¢é:ri _ __

 

Prz'nted name and title `j\ .` ` - F, il

'z'i`

Sworn to before me and signed in my presence

zldge’ s signamre - - l `

 

City and State; Winston-Sa|em, North Ceroiine Joi E[izabeth Peake Uniteci States i\/iagistrate Judge

 

Pf' fitted name and title

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lN UNITED STATES DISTRICT COURT
FOR THE l\/,{IDDLE DISTRICT OF NORTH CAROLINA

AFFIDAVIT

l, Erin North, Deportation Officer, U.S. lmmigration and Customs
Enforcement, United States Department of Homeland Security, being duly
sworn, state that:

l. Your Affiant is a graduate of the Federal LaW Enforcement Training
Center (FLETC) and has been employed as a federal officer of linmigration and
Customs Enforcement (ICE) for twelve years, during Which time she has
conducted numerous investigations relating to administrative and criminal
violations of the lmmigration & Nationality Act (INA).

2. The information contained in this affidavit is based on your Affiant's
personal participation in this investigation and from information provided to
your Affiant by other law enforcement officers This affidavit is submitted for
the limited purpose of establishing probable cause to support the issuance of a
criminal complaint against Jonathan GARClA-CISNEROS, also known as
Jonathan Garcia Cisneros, Jonathan Cisneros, Johnathan Garcia Cisneros,
Johnathan Cisneros, Yonatan Garcia~Cisneros, Alexis Alvarez, AleXis Alvarado,

Alfredo, and Pequena Flecha [hereafter referred to as GARClA-CISNEROS].

Your Affiant has not included each and every fact known to her concerning this

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investigation but has set forth only those facts believed to be necessary for said
purpose.

3. l respectfully assert that sufficient evidence exists to support a
probable cause finding that GARClA-CISNEROS has violated Title 8, United
States Code, Section 1326(a) (illegal reentry into the United States by an alien
Who Was previously removed from the United States)-.` GARClA-CISNEROS did
not obtain the consent of the Attorney General of the United States prior to
March i, 2003, nor the Secretary of the Department of Homeland Security after
February 28, 2003, to reapply for admission to the United States after said
removal

4. On May- 14, 2018, GARClA-CISNEROS vvas arrested in Fcrsyth
County, NC, by Winston-Salem Police for RESISTING PUBLlC OFFICER,
ASSAULT ON GOVERNMENT OFFICIAL, and SECOND-DEGREE
TRESPASS, and detained at the Forsyth County Jail in Winston~Salem. From
the Forsyth County Jail, GARClA-CISNEROS’ fingerprints vvere submitted to
the FBI pursuant to the federal initiative titled Secure Cornmunities via any
lmmigration Aiien Query, thereby running his fingerprints through the Next
Generation Identification (NGl) system, Which is connected to the National
Crime lnformation Center (NCIC), and an automatedlbiometric identification
system used by lCE termed IDENT. The fingerprint-based report disclosed that

GARClA-CISNEROS vvas the subject of FBI number XXX'YSlCDl, State

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Identification Number NCXXXlZOZA, lmmigration A~file number XXX-ZSS-
910, and that immigration records indicated that he vvas previously removed
from the United States vvithout record of legal re~entry. An lCE detainer vvas
lodged against GARClA-CISNEROS With the Forsyth County Jail later that
same day.

5. On l\/lay 15, 2018, GARClA-CISNEROS Was interviewed,
fingerprinted, and photographed by lCE Officers at the Forsyth County Jail in
Winston-Salem, NC. ICE Officers subsequently submitted GA_RCIA~
ClSNEROS’ fingerprints through NeXt Generation ldentification (NGI), vvhich
is connected to the National Crime lnformation Center (NCIC), and the
automated biometric identification system used by lCE termed lDENT. The
fingerprint~based reports confirmed that he Was the subject of FBI number
XXX’?SlCDl, State ldentification Number NCXXXlZOZA, and immigration A-
file number XXX-233-910.

6. On dune 06, 2018, GARCIA~CISNEROS vvas convicted in Forsyth
County, NC, District Court for RESISTING PUBLlC OFFICER, in violation of
General Statute 14-223, ASSAULT ON GOVERNMENT OFFICIAL, in
violation of General Statute 14-33(C)(4), and SECOND~DEGREE TRESPASS,
in violation of General Statute 14-159.13, and Was sentenced to thirty (30) days

of confinement Court Docket 2018cr54298; date of arrest Was l\/iay 14, 2018.

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7. Your Affiant conducted criminal justice database searches and
reviewed immigration A~file XXX-233-910 relating to GARClA-CISNEROS and
discovered that:

a) his name is Jonathan GARClA-CISNEROS, per his own admission;

b) he is also known as Jonathan Garcia Cisneros, Jonathan Cisneros,
Johnathan Garcia Cisneros, Johnathan Cisneros, Yonatan Garcia-
Cisneros, _Alexis Alvarez, Alexis Alvarado, Alfredo, and Pequena Flecha;

c) he is citizen of l\/lexico by virtue of birth in Guerrero, Mexico, on April
28, 19XX, per his own admission He has also used June 28, 1991,
September 28, 1991, and December 28, 1991, as his date of birth;

d) he was assigned FBl number XXXTSlCDl and SlD number
NCXXXlZOZA;

e) on August 4, 2009, he Was convicted in Forsyth County, NC, l)istrict
Court for the lesser offense POSSESS MARIJUANA UP TO 1/2_
OUNCE, in violation of General Statute 90~95([))(4), OPEN
CONTAINER ALCOHOL VIOLATION, in violation of local ordinance,
and CONTRIBUTING TO THE DELINQUENCY OF A JUVENILE_, in
violation of General Statute 14~316.1, and was sentenced to forty-five
(45) days of confinement, suspended for twelve (12) months of
supervised probation. Court Docket 20090r50400; date of arrest was

January 12, 2009;

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f) on August 4, 2009, he was convicted in Forsyth County, NC, District
Court for lNJURY TO REAL PROPERTY, in violation of General
Statute 14~127. Court Docket 2008cr60416; consolidated for judgment
with 2009cr50400; date of arrest was September 22, 2008;

g) on August 4, 2009, he was convicted in Forsyth Count-y, NC, District
Court for GRAFFlTl ON PUBLIC PROPERTY, in violation of local
ordinance Court Docket 20080r34268; consolidated for judgment with
200901‘50400; date of arrest was September 22, 2008;

h) on November 03, 2009, supervised probation as set forth on August 04,
2009, by Forsyth County, NC, District Court for POSSESS

v MARIJUANA UP TO 1/2 OUNCE, OPEN CONTAINER ALCOHOL
VIOLATlON, and CONleBUTlNG TO THE DELINQUENCY OF A
JUVENILE, was revoked, and the forty-five (45) days that had been
previously suspended were activated [with twenty~seven (27) days of
credit]. Court Docket 20090r50400;

i) on November 4, 2009, he was convicted in Forsyth County, NC, District

 

Court for Sll\/lPLE AFFRAY, in violation of General Statute 14-33(A),
and RESlSTlNG PUBLIC OFFICER, in violation of General Statute 14-
223, and was sentenced to one (1) day of confinement Court Docket

20090r40172; date of arrest was October 03, 2009;

 

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J`)

k)

1)

on December 08, 2009, he was encountered by lCE Special Agents
pursuant to information received by Winston-Salem, NC, Police in
reference to his criminal activity, to include his status as a validated
member of the violent street gang SUR-lS. He was determined to be
unlawfully present in the United States and was placed into removal
proceedings;

on January 15, 2010, he was ordered removed from the United States to
Mexico by an immigration Judge at Lumpkin, .GA;

on January 26, 2010, agency form 1~205 Warrant of Renioval/
Deportation was executed by including his photograph, fingerprint, and
signature, and GARCIA~CISNEROS was removed from the United
States to Mexico, afoot, at Brownsville, TX, being advised prior to
removal that he was prohibited from entering, attempting to enter, or
being in the United States for a period of ten years from the date of his
departure from the United States without the express consent of the
Attorney General. He was further advised that doing so without the

express consent of the Attorney General was a crime;

m) on May 25, 2013, he was encountered by Border Patrol Agents near

Laredo, TX, and was determined to be unlawfully present in the United

States;

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n) on May 26, 2013, his order of removal Was reinstated by designated
officials in Laredo, TX;

o) on May 28, 2013, he was convicted in the United States District Court
for the Southern l)istrict of Texas, Laredo Division, for lLLEGAL
ENTRY, in violation of Title 8, United States Code,, Section 1325(a)(1),
and was sentenced to forty (40) days of imprisonment, “u)ith a special
condition not to return to the U.S. illegally or commit any other violation
of federal am:l /or state laws”. Criminal Case Number 5:13~po~07437;
date of arrest was May 28, 20-13;

p) on July 03, 2013, agency form l~205 Warrant of Removal/ Deportation
was executed by including his fingerprint, signature (his initials), and
photograph, and GARCIA~CISNEROS was removed from the United
States to l\/lexico, afoot, at Laredo, TX, being advised prior to removal
that he was prohibited from entering, attempting to enter, or being in
the United States for a period of 20 years from the date of his departure
from the United States without the express consent of the Secretary of
Homeland Security. He was further advised that doing so without the
express consent of the Secretary of Homeland Security was a crime.

8. On June 06, 2018, your Affiant conducted record checks of immigration
indices and was unable to locate any record that GARClA-ClSNEROS was

granted permission by the Attorney General of the United States or the

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Secretary of the Dep artment of Homeland Security to apply for admission to l
the United States after deportation/removal

9. On June 08, 2018, l)epartment of Homeland Security’s Biometric
Support Center s West Latent Print Examiner P. Nolte compared the known
fingerprint impressions of GARClA-CISNEROS taken by lCE Officers on two
NCICE FD-249 arrest tenprint cards dated May 15, 2018, to Winston-Salem,
NC, Police arrest tenprint card in the name Jonathan Garcia Cisneros for
POSSESS WI'l`H lNTENT TO SELL DELIVER MARIJUANA and
CONTRIBUTlNG TO THE DELlNQUENCY OF A JUVENILE dated January
12, 2009; NCICE FD-249 arrest tenprint card from A~file XXX-233~910 dated
December 08, 2009; 1294 Warning to Alien Ordered Renioved or Deported from
A-file XXX-233a910 dated January 20, 2010; l-205 Warrant of Removal/
Deportation from A~file XXX-ZBB~QlO executed January 26, 2010, at
Brownsville, TX; TXCBP FD~Z¢lQ arrest tenprint card from A-file XXX~233~910
dated May 25, 2013; and 1-205 Warrant of Removal/ Deportation from A-file
XXX-233-910 executed July 03, 2013, at Laredo, TX; and determined that the

fingerprints were made by the same individual

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10. Based on the above information your Affiant respectfully requests the

issuance of a criminal complaint against Jonathan GARClA-CISNEROS.

Erin North, Deportation Officer
United States lmmigration and Customs Enforcement

 

Sw`orn to and subscribed before me this 12th day of June, 2018,

massman

'_ Honor le d:)i§\E/fizabeth Peake

' Unite Stat agistrate Judge

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